      Case 23-20039-rlj11                  Doc 1          Filed 03/14/23 Entered 03/14/23 07:52:39                                 Desc Main
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 Fill in this information to identify the case:
 United States Bankruptcy Court for the:
 NORTHERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number (if known):                                     Chapter       11                                        amended filing


Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                        06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and
the case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-
Individuals, is available.


1.   Debtor's name                     Hall Cattle Feeders LLC

2.   All other names debtor used
     in the last 8 years

     Include any assumed names,
     trade names and doing
     business as names


3.   Debtor's federal Employer
     Identification Number (EIN)           8      4      –      2      5        6    8         6   6     4

4.   Debtor's address                  Principal place of business                                     Mailing address, if different from principal
                                                                                                       place of business

                                       16590 Interstate 40 E                                           107 Clubhouse Court
                                       Number         Street                                           Number     Street


                                                                                                       P.O. Box



                                       Shamrock                            TX       79079              Elk City                      OK      73644
                                       City                                State    ZIP Code           City                          State   ZIP Code


                                                                                                       Location of principal assets, if different
                                       Wheeler                                                         from principal place of business
                                       County

                                                                                                       16590 Interstate 40 E
                                                                                                       Number     Street

                                                                                                       Shamrock, TX 79079


                                                                                                       City                          State   ZIP Code

5.   Debtor's website (URL)            hallcattlefeeders.com

6.   Type of debtor                            Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                               Partnership (excluding LLP)
                                               Other. Specify:




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Debtor Hall Cattle Feeders LLC                                                           Case number (if known)

7.   Describe debtor's business        A. Check one:

                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            Railroad (as defined in 11 U.S.C. § 101(44))
                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                            None of the above


                                       B. Check all that apply:

                                            Tax-exempt entity (as described in 26 U.S.C. § 501)
                                            Investment company, including hedge fund or pooled investment vehicle (as defined in
                                            15 U.S.C. § 80a-3)
                                            Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                       C.   NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                         Chapter 7
                                            Chapter 9
     A debtor who is a "small               Chapter 11. Check all that apply:
     business debtor" must check                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
     the first sub-box. A debtor as                         aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     defined in § 1182(1) who elects                        affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     to proceed under subchapter V                          recent balance sheet, statement of operations, cash-flow statement, and federal
     of chapter 11 (whether or not                          income tax return or if any of these documents do not exist, follow the procedure
     the debtor is a "small business                        in 11 U.S.C. § 1116(1)(B).
     debtor") must check the second
     sub-box.                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, AND IT CHOOSES TO PROCEED UNDER SUBCHAPTER V
                                                              OF CHAPTER 11. If this sub-box is selected, attach the most recent balance
                                                              sheet, statement of operations, cash-flow statement, and federal income tax
                                                              return, or if any of these documents do not exist, follow the procedure in
                                                              11 U.S.C. § 1116(1)(B).

                                                              A plan is being filed with this petition.

                                                              Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-
                                                              Individuals Filing for Bankruptcy Under Chapter 11 (Official Form 201A) with this
                                                              form.

                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934
                                                              Rule 12b-2.

                                            Chapter 12




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 2
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Debtor Hall Cattle Feeders LLC                                                            Case number (if known)

9.   Were prior bankruptcy                  No
     cases filed by or against
     the debtor within the last 8           Yes. District                                        When                    Case number
     years?                                                                                             MM / DD / YYYY

                                                 District                                        When                    Case number
     If more than 2 cases, attach a
                                                                                                        MM / DD / YYYY
     separate list.
                                                 District                                        When                    Case number
                                                                                                        MM / DD / YYYY

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes. Debtor                                                        Relationship
    affiliate of the debtor?
                                                   District                                                    When
     List all cases. If more than 1,                                                                                          MM / DD / YYYY
     attach a separate list.                       Case number, if known


                                                   Debtor                                                      Relationship

                                                   District                                                    When
                                                                                                                              MM / DD / YYYY
                                                   Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                            Debtor has had its domicile, principal place of business, or principal assets in this district for 180
                                            days immediately preceding the date of this petition or for a longer part of such 180 days than in
                                            any other district.

                                            A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this
                                            district.




Official Form 201                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 3
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Debtor Hall Cattle Feeders LLC                                                      Case number (if known)

12. Does the debtor own or            No
    have possession of any            Yes. Answer below for each property that needs immediate attention. Attach additional sheets if
    real property or personal              needed.
    property that needs
                                           Why does the property need immediate attention?               (Check all that apply.)
    immediate attention?
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                safety.
                                                What is the hazard?

                                                It needs to be physically secured or protected from the weather.

                                                It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-
                                                related assets or other options).

                                                Other


                                           Where is the property?       16590 Interstate 40 E
                                                                        Number       Street




                                                                        Shamrock                                   TX         79079
                                                                        City                                       State      ZIP Code

                                           Is the property insured?

                                                No
                                                Yes. Insurance agency Marsh McLennan Insurance

                                                        Contact name

                                                        Phone                  806-376-4223


              Statistical and adminstrative information
13. Debtor's estimation of       Check one:
    available funds                  Funds will be available for distribution to unsecured creditors.
                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                     creditors.

14. Estimated number of               1-49                              1,000-5,000                          25,001-50,000
    creditors                         50-99                             5,001-10,000                         50,001-100,000
                                      100-199                           10,001-25,000                        More than 100,000
                                      200-999

15. Estimated assets                  $0-$50,000                        $1,000,001-$10 million               $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million             $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million            More than $50 billion

16. Estimated liabilities             $0-$50,000                        $1,000,001-$10 million               $500,000,001-$1 billion
                                      $50,001-$100,000                  $10,000,001-$50 million              $1,000,000,001-$10 billion
                                      $100,001-$500,000                 $50,000,001-$100 million             $10,000,000,001-$50 billion
                                      $500,001-$1 million               $100,000,001-$500 million            More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                           page 4
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Debtor Hall Cattle Feeders LLC                                                           Case number (if known)


              Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17. Declaration and signature of          The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in
    authorized representative             this petition.
    of debtor
                                          I have been authorized to file this petition on behalf of the debtor.

                                          I have examined the information in this petition and have a reasonable belief that the information is
                                          true and correct.


                                       I declare under penalty of perjury that the foregoing is true and correct.

                                          Executed on 03/14/2023
                                                      MM / DD / YYYY



                                          X /s/ Dakota Hall
                                              Signature of authorized representative of debtor
                                              Dakota Hall
                                              Printed name
                                              Managing Member
                                              Title

18. Signature of attorney                X /s/ Van W. Northern                                                    Date   03/14/2023
                                            Signature of attorney for debtor                                             MM / DD / YYYY

                                            Van W. Northern
                                            Printed name
                                            Northern Legal, PC
                                            Firm name
                                            3545 S. Georgia
                                            Number          Street



                                            Amarillo                                                   TX                 79109
                                            City                                                       State              ZIP Code


                                            (806) 374-2266                                             northernlegalpc@gmail.com
                                            Contact phone                                              Email address
                                            15101100                                                   TX
                                            Bar number                                                 State




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 Fill in this information to identify the case:
 Debtor name        Hall Cattle Feeders LLC

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number                                                                                                               Check if this is an
 (if known)                                                                                                                amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which
the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do
not include claims by secured creditors, unless the unsecured claims resulting from inadequate collateral value places the
creditor among the holders of the 20 largest unsecured claims.


 Name of creditor and            Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip          address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                            creditor              professional          unliquidated,   secured, fill in total claim amount and
                                 contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total            Deduction       Unsecured
                                                                                             claim, if        for value       claim
                                                                                             partially        of
                                                                                             secured          collateral
                                                                                                              or setoff
1   Capital Farm Credit                                Note                                   $4,788,830.00           $0.00 $4,788,830.00
    PO Box 302
    Pampa, TX 79066




2   Capital Farm Credit                                Loan                                    $694,787.00            $0.00     $694,787.00
    PO Box 302
    Pampa, TX 79066




3   Capital Farm Credit                                Loan                                    $540,772.00            $0.00     $540,772.00
    PO Box 302
    Pampa, TX 79066




4   Dimmitt Flaking LP                                 Unsecured                                                                $175,079.00
    1380 US-385
    Dimmitt, TX 79027




5   Livestock Nutrition                                Unsecured                                                                $169,140.00
    Center LLC
    5200 TX-136
    Amarillo, TX 79108




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 1
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Debtor       Hall Cattle Feeders LLC                                              Case number (if known)
             Name


 Name of creditor and           Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing               number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip         address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                           creditor              professional          unliquidated,   secured, fill in total claim amount and
                                contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                      government                            calculate unsecured claim.
                                                      contracts)
                                                                                            Total           Deduction        Unsecured
                                                                                            claim, if       for value        claim
                                                                                            partially       of
                                                                                            secured         collateral
                                                                                                            or setoff
6   Caterpillar Financial                             Loan                                    $163,394.00            $0.00     $163,394.00
    Services
    P.O. Box 730681
    Dallas, Texas 75373-
    0681

7   Small Business                                    Loan                                    $160,486.00            $0.00     $160,486.00
    Administration
    409 3rd St. Southwest
    Washington, DC 20416



8   Diversified Financial                             Loan                                    $144,257.00            $0.00     $144,257.00
    14010 First National Bank
    Parkway
    Suite 400
    Omaha, NE 68154

9   Animal Health Internation                         Unsecured                                                                $125,389.00
    Inc
    9602 Fm Rd 1541
    Amarillo, TX 79118



10 Happy State Bank                                   Note                                    $107,859.00            $0.00     $107,859.00
   200 Main St
   Canadian, TX 79014




11 Happy State Bank                                   Loan                                     $83,642.00            $0.00       $83,642.00
   200 Main St
   Canadian, TX 79014




12 Caterpillar Financial                              Skid Steer                               $50,379.00            $0.00       $50,379.00
   Services
   P.O. Box 730681
   Dallas, Texas 75373-
   0681

13 Caterpillar Financial                              Loan                                     $32,959.00            $0.00       $32,959.00
   Services
   P.O. Box 730681
   Dallas, Texas 75373-
   0681




Official Form 204     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      page 2
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Debtor       Hall Cattle Feeders LLC                                               Case number (if known)
             Name


 Name of creditor and            Name, telephone       Nature of the claim   Indicate if     Amount of unsecured claim
 complete mailing                number, and email     (for example, trade   claim is        If the claim is fully unsecured, fill in only
 address, including zip          address of            debts, bank loans,    contingent,     unsecured claim amount. If claim is partially
 code                            creditor              professional          unliquidated,   secured, fill in total claim amount and
                                 contact               services, and         or disputed     deduction for value of collateral or setoff to
                                                       government                            calculate unsecured claim.
                                                       contracts)
                                                                                             Total           Deduction       Unsecured
                                                                                             claim, if       for value       claim
                                                                                             partially       of
                                                                                             secured         collateral
                                                                                                             or setoff
14 3T Drilling Inc                                     Unsecured                                                                  $12,480.00
   10870 Cluck Rd
   Dumas, TX 79029




15 Blue Cross Blue Shield                              Unsecured                                                                   $6,960.00
   1001 E Lookout Dr
   Richardson, TX 75082




16 Caterpillar Financial                               Unsecured                                                                   $5,129.00
   Services
   2120 Westend Ave
   Nashville, TN 37203



17 Cat Financial Car Card                              Unsecured                                                                     $811.00
   2120 Westend Ave
   Nashville, TN 37203




18 Ameriflex                                           Unsecured                                                                      $52.50




19 D&D Cattle                                          Unsecured                                                                       $0.00
   461 N I-45
   Fairfield, TX 75840




20 Cowen Cattle Company                                Unsecured                                                                       $0.00
   PO Box 256
   Benjamin, TX 79505




Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    page 3
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                                      UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS
                                              AMARILLO DIVISION
  IN RE:   Hall Cattle Feeders LLC                                               CASE NO

                                                                                 CHAPTER      11

                                     VERIFICATION OF CREDITOR MATRIX

      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 3/14/2023                                          Signature   /s/ Dakota Hall
                                                                    Dakota Hall
                                                                    Managing Member




Date                                                    Signature
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 Debtor(s): Hall Cattle Feeders LLC
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                                                                                               AMARILLO DIVISION


3T Drilling Inc                           Cat Financial Car Card                 Diversified Financial
10870 Cluck Rd                            2120 Westend Ave                       14010 First National Bank Parkway
Dumas, TX 79029                           Nashville, TN 37203                    Suite 400
                                                                                 Omaha, NE 68154


Ameriflex                                 Caterpillar Financial Services         Fritsch Cattle Co
                                          2120 Westend Ave                       1040 FM 954
                                          Nashville, TN 37203                    Fayetteville, TX 78940



Animal Health Internation Inc             Caterpillar Financial Services         GK Jim Farms
9602 Fm Rd 1541                           P.O. Box 730681                        P.O. Box 1707
Amarillo, TX 79118                        Dallas, Texas 75373-0681               Okotoks, Alberta     T1S 2A@
                                                                                 CANADA


Attorney-In-Charge               Classic Ranch                                   Happy State Bank
Office of The United States Attorney
                                 5454 Pebble Creek Dr                            200 Main St
500 S. Taylor, Lobby Box 238     Prosper, TX 75078                               Canadian, TX 79014
Amarillo, Texas 79101


Beau Franzen                              Clint Langley                          Highwood Cattle LLC
6101 FM 1075                              2951 E. 2090 Rd.                       16301 Prairie Garden Rd
Happy, TX 79042                           Hugo, OK 74743                         Canyon, TX 79015



Berry Cattle, LLC                         Comptroller of Public Accounts         Internal Revenue Services
6101 FM 1075                              Taxation Division Bankruptcy           P.O. Box 7346
Happy, TX 79042                           P.O. Box 12548                         Philadelphia, PA 19101
                                          Austin, Texas 78711


Blue Cross Blue Shield                    Cowen Cattle Company                   Jerry Annen
1001 E Lookout Dr                         PO Box 256                             301 SE 2nd St
Richardson, TX 75082                      Benjamin, TX 79505                     Dimmitt, TX 79027



BR La Pata LLC                            D&D Cattle                             Lance Gaillard
10857 N Business 287                      461 N I-45                             6101 FM 1075
Fort Worth, TX 76179                      Fairfield, TX 75840                    Happy, TX 79042



Burnett & Sons                            David Kaelin                           Livestock Nutrition Center LLC
461 N I-45                                12800 Lamel Dr                         5200 TX-136
Fairfield, TX 75840                       Louisville, KY 40299                   Amarillo, TX 79108



Capital Farm Credit                       Dimmitt Flaking LP                     Perdue Brandon et al (Lubbock)
PO Box 302                                1380 US-385                            PO Box 817
Pampa, TX 79066                           Dimmitt, TX 79027                      Lubbock, TX 79408
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 Debtor(s): Hall Cattle Feeders LLC
                                              Document
                                              Case No:
                                               Chapter: 11
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                                                                                               AMARILLO DIVISION


Perdue Brandon et al - (Amarillo)
PO Box 9132
Amarillo, TX 79105-9132



Small Business Administration
409 3rd St. Southwest
Washington, DC 20416



Social Security Administration
601 E. 12th St
Kansas City, MO 64106-2859



Texas Workforce Commission
101 E. 15th Street
Austin, Texas 78778



UST U.S. Trustee
1100 Commerce Street
Room 976
Dallas, TX 75242-1011
